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                                                                       EXHIBIT A4
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                                                                        EXHIBIT A6
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                                                                        EXHIBIT A7
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                                                                        EXHIBIT A8
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                                                                        EXHIBIT A9
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                                                                        EXHIBIT A9
                                                                               -44-
   Case 5:22-cv-01458-AB-SP Document 1-1 Filed 08/18/22 Page 18 of 29 Page ID #:46




Reg. No. 5,402,465         Monster Energy Company (DELAWARE CORPORATION)
                           1 Monster Way
Registered Feb. 13, 2018   Corona, CALIFORNIA 92879

                           CLASS 32: Non-alcoholic beverages, namely, energy drinks, soft drinks, sports drinks, and
Int. Cl.: 32               flavored waters; drinking water, namely, water enhanced with vitamins, nutrients, proteins,
                           and/or amino acids
Trademark
                           FIRST USE 3-1-2017; IN COMMERCE 3-1-2017
Principal Register
                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           SER. NO. 87-074,466, FILED 06-16-2016




                                                                                                   EXHIBIT A10
                                                                                                           -45-
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       REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

    WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
           DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

  Requirements in the First Ten Years*
  What and When to File:

       First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
       years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
       registration will continue in force for the remainder of the ten-year period, calculated from the registration
       date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

       Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
       for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


  Requirements in Successive Ten-Year Periods*
  What and When to File:

       You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
       between every 9th and 10th-year period, calculated from the registration date.*


  Grace Period Filings*

  The above documents will be accepted as timely if filed within six months after the deadlines listed above with
  the payment of an additional fee.

  *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
  extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
  (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
  The time periods for filing are based on the U.S. registration date (not the international registration date). The
  deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
  nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
  do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
  international registration at the International Bureau of the World Intellectual Property Organization, under
  Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
  date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
  international registration, see http://www.wipo.int/madrid/en/.

  NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
  USPTO website for further information. With the exception of renewal applications for registered
  extensions of protection, you can file the registration maintenance documents referenced above online at h
  ttp://www.uspto.gov.

  NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
  owners/holders who authorize e-mail communication and maintain a current e-mail address with the
  USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
  Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
  available at http://www.uspto.gov.




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                                                                                                          EXHIBIT A10
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Reg. No. 5,622,925         MONSTER ENERGY COMPANY (DELAWARE CORPORATION)
                           1 Monster Way
Registered Dec. 04, 2018   Corona, CALIFORNIA 92879

                           CLASS 5: Nutritional energy supplements in liquid form; nutritional supplement beverages
Int. Cl.: 5                containing vitamins

Trademark                  FIRST USE 7-8-2009; IN COMMERCE 7-8-2009

Principal Register         THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           OWNER OF U.S. REG. NO. 2769364

                           SER. NO. 85-197,756, FILED 12-14-2010




                                                                                                EXHIBIT A11
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       REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

    WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
           DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

  Requirements in the First Ten Years*
  What and When to File:

       First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
       years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
       registration will continue in force for the remainder of the ten-year period, calculated from the registration
       date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

       Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
       for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


  Requirements in Successive Ten-Year Periods*
  What and When to File:

       You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
       between every 9th and 10th-year period, calculated from the registration date.*


  Grace Period Filings*

  The above documents will be accepted as timely if filed within six months after the deadlines listed above with
  the payment of an additional fee.

  *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
  extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
  (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
  The time periods for filing are based on the U.S. registration date (not the international registration date). The
  deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
  nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
  do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
  international registration at the International Bureau of the World Intellectual Property Organization, under
  Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
  date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
  international registration, see http://www.wipo.int/madrid/en/.

  NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
  USPTO website for further information. With the exception of renewal applications for registered
  extensions of protection, you can file the registration maintenance documents referenced above online at h
  ttp://www.uspto.gov.

  NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
  owners/holders who authorize e-mail communication and maintain a current e-mail address with the
  USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
  Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
  available at http://www.uspto.gov.




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                                                                                                          EXHIBIT A11
                                                                                                                  -48-
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Reg. No. 5,628,025         MONSTER ENERGY COMPANY (DELAWARE CORPORATION)
                           1 Monster Way
Registered Dec. 11, 2018   Corona, CALIFORNIA 92879

                           CLASS 5: nutritional energy supplements in liquid form; nutritional supplement beverages
Int. Cl.: 5                containing vitamins

Trademark                  FIRST USE 3-2-2011; IN COMMERCE 3-2-2011

Principal Register         THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           OWNER OF U.S. REG. NO. 2769364

                           SER. NO. 85-168,304, FILED 11-03-2010




                                                                                                EXHIBIT A12
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       REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

    WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
           DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

  Requirements in the First Ten Years*
  What and When to File:

       First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
       years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
       registration will continue in force for the remainder of the ten-year period, calculated from the registration
       date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

       Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
       for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


  Requirements in Successive Ten-Year Periods*
  What and When to File:

       You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
       between every 9th and 10th-year period, calculated from the registration date.*


  Grace Period Filings*

  The above documents will be accepted as timely if filed within six months after the deadlines listed above with
  the payment of an additional fee.

  *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
  extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
  (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
  The time periods for filing are based on the U.S. registration date (not the international registration date). The
  deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
  nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
  do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
  international registration at the International Bureau of the World Intellectual Property Organization, under
  Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
  date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
  international registration, see http://www.wipo.int/madrid/en/.

  NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
  USPTO website for further information. With the exception of renewal applications for registered
  extensions of protection, you can file the registration maintenance documents referenced above online at h
  ttp://www.uspto.gov.

  NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
  owners/holders who authorize e-mail communication and maintain a current e-mail address with the
  USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
  Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
  available at http://www.uspto.gov.




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                                                                                                          EXHIBIT A12
                                                                                                                  -50-
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Reg. No. 5,633,094         Monster Energy Company (DELAWARE CORPORATION)
                           1 Monster Way
Registered Dec. 18, 2018   Corona, CALIFORNIA 92879

                           CLASS 5: Nutritional energy supplements in liquid form; nutritional supplement beverages
Int. Cl.: 5                containing vitamins

Trademark                  FIRST USE 8-30-2012; IN COMMERCE 8-30-2012

Principal Register         THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           SER. NO. 85-783,034, FILED 11-19-2012




                                                                                                EXHIBIT A13
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       REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

    WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
           DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

  Requirements in the First Ten Years*
  What and When to File:

       First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
       years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
       registration will continue in force for the remainder of the ten-year period, calculated from the registration
       date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

       Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
       for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


  Requirements in Successive Ten-Year Periods*
  What and When to File:

       You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
       between every 9th and 10th-year period, calculated from the registration date.*


  Grace Period Filings*

  The above documents will be accepted as timely if filed within six months after the deadlines listed above with
  the payment of an additional fee.

  *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
  extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
  (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
  The time periods for filing are based on the U.S. registration date (not the international registration date). The
  deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
  nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
  do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
  international registration at the International Bureau of the World Intellectual Property Organization, under
  Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
  date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
  international registration, see http://www.wipo.int/madrid/en/.

  NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
  USPTO website for further information. With the exception of renewal applications for registered
  extensions of protection, you can file the registration maintenance documents referenced above online at h
  ttp://www.uspto.gov.

  NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
  owners/holders who authorize e-mail communication and maintain a current e-mail address with the
  USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
  Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
  available at http://www.uspto.gov.




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                                                                                                          EXHIBIT A13
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Reg. No. 5,783,086         Monster Energy Company (DELAWARE CORPORATION)
                           1 Monster Way
Registered Jun. 18, 2019   Corona, CALIFORNIA 92879

                           CLASS 32: Non-alcoholic beverages, namely, energy drinks, soft drinks, sports drinks, and
Int. Cl.: 32               fruit juice drinks

Trademark                  FIRST USE 8-00-2018; IN COMMERCE 8-00-2018

Principal Register         THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           SER. NO. 87-876,963, FILED 04-13-2018




                                                                                                 EXHIBIT A14
                                                                                                         -53-
Case 5:22-cv-01458-AB-SP Document 1-1 Filed 08/18/22 Page 27 of 29 Page ID #:55



       REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

    WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
           DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

  Requirements in the First Ten Years*
  What and When to File:

       First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
       years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
       registration will continue in force for the remainder of the ten-year period, calculated from the registration
       date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

       Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
       for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


  Requirements in Successive Ten-Year Periods*
  What and When to File:

       You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
       between every 9th and 10th-year period, calculated from the registration date.*


  Grace Period Filings*

  The above documents will be accepted as timely if filed within six months after the deadlines listed above with
  the payment of an additional fee.

  *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
  extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
  (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
  The time periods for filing are based on the U.S. registration date (not the international registration date). The
  deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
  nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
  do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
  international registration at the International Bureau of the World Intellectual Property Organization, under
  Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
  date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
  international registration, see http://www.wipo.int/madrid/en/.

  NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
  USPTO website for further information. With the exception of renewal applications for registered
  extensions of protection, you can file the registration maintenance documents referenced above online at h
  ttp://www.uspto.gov.

  NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
  owners/holders who authorize e-mail communication and maintain a current e-mail address with the
  USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
  Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
  available at http://www.uspto.gov.




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                                                                                                          EXHIBIT A14
                                                                                                                  -54-
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Reg. No. 5,820,901         Monster Energy Company (DELAWARE CORPORATION)
                           1 Monster Way
Registered Jul. 30, 2019   Corona, CALIFORNIA 92879

                           CLASS 5: Nutritional supplements in liquid form
Int. Cl.: 5, 20, 43
                           FIRST USE 4-16-2002; IN COMMERCE 4-16-2002
Service Mark
                           CLASS 20: Furniture; chairs; gaming chair
Trademark
                           FIRST USE 12-2-2017; IN COMMERCE 12-2-2017
Principal Register         CLASS 43: Bar services; café services; mobile restaurant services; restaurant services; mobile
                           café services for providing food and drink

                           FIRST USE 2-3-2016; IN COMMERCE 2-3-2016

                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           OWNER OF U.S. REG. NO. 2769364, 4371544, 4975822

                           SER. NO. 88-264,714, FILED 01-16-2019




                                                                                                     EXHIBIT A15
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       REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

    WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
           DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

  Requirements in the First Ten Years*
  What and When to File:

       First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
       years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
       registration will continue in force for the remainder of the ten-year period, calculated from the registration
       date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

       Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
       for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


  Requirements in Successive Ten-Year Periods*
  What and When to File:

       You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
       between every 9th and 10th-year period, calculated from the registration date.*


  Grace Period Filings*

  The above documents will be accepted as timely if filed within six months after the deadlines listed above with
  the payment of an additional fee.

  *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
  extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
  (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
  The time periods for filing are based on the U.S. registration date (not the international registration date). The
  deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
  nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
  do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
  international registration at the International Bureau of the World Intellectual Property Organization, under
  Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
  date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
  international registration, see http://www.wipo.int/madrid/en/.

  NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
  USPTO website for further information. With the exception of renewal applications for registered
  extensions of protection, you can file the registration maintenance documents referenced above online at h
  ttp://www.uspto.gov.

  NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
  owners/holders who authorize e-mail communication and maintain a current e-mail address with the
  USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
  Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
  available at http://www.uspto.gov.




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                                                                                                          EXHIBIT A15
                                                                                                                  -56-
